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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND

  JOHN DOE

  v.                                                    C.A. 17-cv-191-JJM-LDA

  BROWN UNIVERSITY



    PLAINTIFF’S MEMORANDUM SUBMITTED IN OPPOSITION TO DEFENDANT’S
                    MOTION FOR SUMMARY JUDGMENT.


                                  PRELIMINARY STATEMENT

         In the fall of 2013, Plaintiff, John Doe (John) arrived as a freshman at Brown University

  (“Defendant” or “Brown”) with a multi-syllabic Afro-centric name, and an Afro-centric identity.

  (Plaintiff’s Statement of Facts—“PSOF”—¶ 1). The oldest son of a white mother and an African

  father whose grandfather was a chief in the Ngomby tribe, John was under pressure to bring

  honor to his African heritage of dignified purpose and to be a professional with financial security

  and financial responsibility to his family, particularly with respect to his younger brother who is

  disabled. (PSOF ¶ 2). An All-American in high school having won awards not only for his

  athleticism, but his character and sportsmanship, John came to Defendant to play lacrosse and

  major in finance. He was a happy, outgoing team player with no prior social or emotional issues.

  (PSOF ¶¶ 3, 4).

         At its core, this case deals with the experiences of three students: Jane who is white, and

  female; Sally, also white and female; and John. (PSOF ¶ 5) All three alleged sexual misconduct

  to Defendant. Of the three, Defendant provided Jane and Sally with support even before they

  filed a complaint and the opportunity to have Defendant fully investigate and prove their claims.

  (PSOF ¶ 6). In comparison, the sexual misconduct John experienced as a result of Jane’s actions

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  was repeatedly ignored by his advisor, Carolan Norris (Norris), during the sexual misconduct

  investigation and hearing and disregarded by Yolanda Castillo-Appollonio (YCA), who worked

  in Defendant’s Office of Student Life (OSL) 1 and was the hands-on administrator of sexual

  misconduct complaints during the relevant time period between 2013-2016. The core of the

  dispute in this action is that gender and/or racial bias and hostility towards John depleted his

  opportunities at Brown to experience the attention, care and experiences Sally and Jane, both

  white, female students experienced. During the relevant time period 100% of all students against

  whom a complaint of sexual misconduct was made were male. (PSOF ¶ 8) Moreover, John was

  the only African-American male student Norris advised. (PSOF ¶ 9).

         As a result of Defendant’s mistreatment, and as will be discussed below, by 2014, John

  was clinically depressed and suicidal. His grades were suffering and his participation with his

  beloved lacrosse team was greatly diminished: He was forced by Defendant to move out of the

  team’s house (PSOF ¶ 10); he was “robbed” of playing in an NCAA tournament with the team;

  experienced a deterioration of teamwork with the other athletes (PSOF ¶ 11); he changed majors

  and career goals from finance to acting (PSOF ¶ 12); he suffered a loss of reputation (PSOF ¶

  13); and “enormous life-altering psychological harm”—both “major depressive disorder” and

  “persistent depressive disorder” as a result of his “adverse experiences with Brown” that have

  “devastated” John’s life. (PSOF ¶ 13). The physical symptoms of John’s persistent depressive

  disorder “is marked by pervasively depressed mood, markedly diminished energy and




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   During the relevant time period from 2013-2015, Title IX cases fell under the auspices of the
  OSL. YCA worked under Dean Allen Ward, who in turn answered to Margaret Klawunn, who
  during the relevant time period was Vice President for Campus Life and Student Services (PSOF
  ¶ 7).

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  motivation, hypersomnia, hypophagia, diminished libido, anhedonia, hyperirritability, feelings of

  helplessness, and feelings of hopelessness.” (PSOF ¶ 13) 2

         Plaintiff alleges that gender and racial bias are the cause of this downturn; however,

  racial bias is of particular concern. The Office of Civil Rights does not keep statistics on the race

  of students accused of sexual misconduct (Defendant also did not keep and/or provide statistics

  on race); however, cautious observers of racial bias in sexual misconduct processes on campus

  have reported that “the number of accused who are men of color is just creepily high,” and

  mirrors “the overenforcement of criminal and criminal-like sanctions against people of color

  continuous with what’s going on in the legal system. . . . the bias that’s in all of our heads is

  producing this.” (PSOF ¶ 14). Indeed, in her testimony, YCA recalled her communications with

  John’s Father, who expressed his concerns “about [John’s] identifying as a black male athlete,

  and how that may have impacted the hearings.” (PSOF ¶ 15). In the context of that conversation

  about race with John’s Father, YCA admitted “there are unconscious biases, and that we all have

  them.” (PSOF ¶ 16). During the relevant time, Defendant provided John with no clear definition

  of consent, relying only on community standards, which allowed “biases” to run rampant against

  John, the rare, if not lone black male. 3 (PSOF ¶ 17). This hard truth is particularly insidious


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    Defendant’s Memo of Law provides a detailed description of how John received some
  assistance with his career from his lacrosse coach and a Brown alumnus. Further, Defendant
  noted that Plaintiff has not publicly renounced his affiliation with Brown and has even posted
  graduation photos. See, e.g., Def. MOL, pp. 2-3. None of this is relevant to this action. While
  John’s coach and certain alumni may have treated Plaintiff well, that stands in stark contrast to
  the way he was treated by Defendant herein. As for the social network photos, Defendant’s wish
  that one’s happiness can be determined by pictures posted on FB or in graduation photos is as
  shallow as the smiles shown.
  3
    YCA could not recall the number of African-American males involved in OSL sexual
  misconduct cases, but expressed that there was more than one, otherwise she could not “isolate”
  them. (PSOF ¶ 18).



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  when Defendant’s policies are overtly biased against its respondents who were all male. 4 This

  bias is expressed explicitly in Defendant’s description of its 2013-2014 “current hearing model”

  in which the complainant is described as a “survivor” and the hearing process is praised “an

  important venue for a survivor to feel personally empowered.” (PSOF ¶ 20). At the same time,

  bearing in mind that all respondents were male, Defendant praised its practices as being

  proficient in revealing the respondent’s “power dynamics” and “potentially manipulative tactics”

  which “can be massive influences on a finding.” (PSOF ¶ 21). Such black and white division of

  virtues between the accuser, female, and the accused, male, is bad enough in what should be a

  fair and just framework, but when the accused is also a potential accuser, as was the case here,

  the biases rear their head to thwart and oppress Defendant’s policies and obligations.

         Given Defendant’s inherent preference to cater the conduct hearings to “empower” the

  female survivor and unmask the “manipulative tactics” of the male respondent, it is no surprise

  that John’s allegations of sexual misconduct against Jane were not only discouraged, but were

  not even recognized as sexual misconduct. Defendant’s bias, unconscious or not, against John as

  a black male is the genesis of the series of events that caused John’s inability to participate in

  Defendant’s lacrosse team and fully in his education and goals at Brown and what led to his

  depression and suicide attempt.

                                          STATEMENT OF FACTS

  2013-TITLE IX First Action (“T91”)

         On or about September 20, 2013 Jane, a white, female sophomore at Brown and John had

  a brief encounter at a popular student bar. The encounter began with a sado-masochistic episode



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    Klawunn agreed that when men were complainants, they “were in cases that involved men as
  respondents.” 31:13-16 (PSOF, ¶ 19).

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  in which Jane bit John’s lip so hard it bled. She also tried to asphyxiate him and declared, “I

  make the rules,” (PSOF ¶ 22), which was not exactly a conversation-starter about mutual consent

  (the 50 Shades of Grey series featuring erotic S&M reached a peak of ecstatic popularity in

  August 2013. See Fifty Shades - Novel Series, Wikipedia). However, it was John who Defendant

  found responsible for the more neo-Victorian misstep of trying to lift Jane’s dress once, twice,

  but no further once he discerned she was not interested, which he admitted (PSOF ¶ 23). 5 Jane

  was not found responsible for any sexual misconduct. (PSOF ¶ 26). Indeed, neither YCA nor

  Norris, two of Defendant’s employees most closely connected to T91, even recognized Jane’s

  actions as being non-consensual or in any way violative of Defendant’s Code of Conduct. (PSOF

  ¶ 27).

           Jane filed her complaint against John on or about December 6, 2013. (PSOF ¶ 28). On

  the same day, Defendant charged John with both III a and III b violations as well as offense II a,

  which address actions that “result in or reasonably expected to result in physical harm . . . .”

  (PSOF ¶ 29).

           Defendants’ sexual misconduct policy was as follows (PSOF ¶ 30):

           III Sexual Misconduct

                  a. Sexual Misconduct that involves non-consensual physical contact of a sexual
                     nature.


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    At the hearing, John addressed why he continued to try to raise Jane’s dress after it was stated it
  should have been clear Jane was disinterested, John explained that “[g]irls in my experience
  don’t like to be rushed, they like to take their time, they like to be seduced in my experience . . . .
  is after I asked—like again, I just asked nonverbally, got my answer, which was a no, and I did
  not ask again.” (PSOF ¶ 24). Margaret Klawunn, Defendant’s Vice President for Campus Life
  and Student Services, and YCA’s superior during the relevant time period, who addressed and
  did not grant Jane’s appeal explained John’s malfeasance for which he was sanctioned as
  follows: John tried “to pull her dress up and down, which she did not want. And so, that was the
  reason why they felt that the behavior—where the nonconsensual behavior came, but that it
  wasn’t clear that there had been anything more than that. (PSOF ¶ 25).

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                 b. Sexual Misconduct that includes one or more of the following: penetration,
                    violent physical force, or injury.

         In its “comment” to the Code, Defendant notes that violations of offense “III b will result

  in more severe sanctions from the University, separation being the standard.” (PSOF ¶ 30)

         At the same time, John was put under a No-Contact Order in favor of Jane. (PSOF ¶ 31).

  The No-Contact Order was mutual, and Jane also received one in favor on John. (PSOF ¶ 31).

         One week later, on or about December 13, John provided his statement about the

  incident. In it he described the encounter as “violent”:

         As we steadily kissed, she bit hard on my lower lip. She bit down to the point of breaking
         the skin and drawing blood. It startled me as I had never experienced a bite like this
         before. However, I continued kissing, ignoring the wound. As we continued kissing, she
         next put her hand to my throat, pushed me against the wall, and her hand pushed against
         my throat to the point of cutting off my breath. She continued adding pressure until I
         began to actually choke. She was smiling at me and although I felt slightly wheezy, I was
         smiling back . . . Her gestures suggested that she wanted to assume a dominant role in our
         interaction. After a few moments she released me. . . . we kissed for another few
         moments . . . . Her hand returned to my throat and she again leaned in to apply steady
         pressure to my throat although more purposely this time. She appeared to be aroused that
         she was causing me to choke. . . . I wasn’t comfortable with this interaction and tried to
         indicate that we should move on from this. I put my hand against her choking hand to
         push it away from my throat. I met some resistance to her stopping and by now was
         feeling short of breath from choking so I pushed harder against her wrist to get her to stop
         . . . and asked her what we should do now. . . . [W]hat stood out was a statement she
         made saying, “I make the rules.” She indicated that this style of making out would
         continue were we to stay there. I found it awkward and too violent. . . .and told her I was
         going to leave. . . . [but] she seemed to be commanding me that I had not received
         permission to leave. . . . I simply turned and left. (PSOF ¶ 32).

         John expressed his desire to bring a complaint against Jane directly to YCA. (PSOF ¶

  33). Defendant does not prohibit a respondent from filing a complaint. Klawunn confirmed that

  where “an accused student has a complaint against his accuser . . . we definitely offered students

  the possibility of submitting counter-complaints. . . .” (PSOF ¶ 34). YCA too acknowledged that

  the respondent could file complaint against his accuser, which if brought early enough in the

  investigation of the first complaint, it would be investigated and heard together. (PSOF ¶ 35).

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  However, that is not what John was told. When John spoke with YCA about filing a complaint,

  he got “no support” and was told that he “would have to do a whole separate process.”

  Moreover, YCA “made it seem, the process I was in had to conclude and then we’d open up a

  new one.” (PSOF ¶ 36).

         YCA had no recollection of discussing with John about filing a complaint against Jane

  (PSOF ¶ 37); however, YCA’s explanation as to why John did not need to file his own complaint

  sounded suspiciously like the explanation John testified YCA told him. In YCA’s words, there

  was no reason for John to file his own complaint against Jane because in a situation like

  Plaintiff’s where he is complaining of the same event as the complainant, the hearing would

  consider both. (PSOF ¶ 38). However, without a complaint, no charges could have been brought

  against Jane, no findings could be made with respect to John’s allegations, and no sanctions

  against Jane could be considered or imposed. (PSOF ¶ 39). Without a complaint against Jane,

  the charges, allegations and sanctions went in one direction only: against John.

         However, even if John did not ask YCA to file a complaint against Jane, YCA

  acknowledged a duty pursuant to the OCR’s so-called “Dear Colleague Letter” dated April 11,

  2011 (the “Letter”) to address sexual misconduct under its “know or should have known

  standard” (PSOF ¶ 40). YCA acknowledged that pursuant to the Letter, if the school knew or

  should have known about sexual misconduct, the school has a duty to “take immediate action to

  eliminate” sexual harassment even if the student-target of the harassment does not make a

  complaint. (PSOF ¶ 41) Moreover, YCA affirmed that pursuant to the “know or should have

  known standard”, if any party to the sexual misconduct process discloses in his or her response

  allegations of sexual misconduct other than the misconduct the accuser has alleged, her office

  “would look into that.” (PSOF ¶ 42).



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         Yet, when applying these standards to John, YCA discouraged John from filing a

  complaint. For example, YCA testified that she would allow the respondent to file a complaint

  against the accuser if it was brought early enough in the investigation of the first complaint so

  that both complaints could be investigated and heard together. (PSOF ¶ 43). John’s statement

  was received by YCA on December 13, 2014, about a week into the investigation of Jane’s

  complaint that was initiated with the Charging Letter on December 6, 2013, early enough to be

  part of the investigation and hearing process Jane initiated. (PSOF ¶ 44). Further, YCA read

  John’s statement upon receipt. (PSOF ¶ 45). When it came to John, YCA changed the rules.

         YCA not only discouraged John from filing a complaint, she was also dismissive of the

  idea that John even had the basis for a complaint. YCA did not perceive the events Plaintiff

  alleged occurred as violations of Defendant’s sexual misconduct standard. (PSOF ¶ 46). Having

  checked her biases, YCA blamed Defendant’s failure to act on John’s behalf on John himself and

  the way he presented his allegations against Jane. (PSOF ¶ 47). In the first instance, YCA

  opined that John’s statement did not include a statement directing Jane to “stop.” (PSOF ¶ 48). 6

  Indeed, in another variation of YCA’s reasoning, Plaintiff did not allege that he could not “leave




  6
    These are absurd requirements and, indeed, patently false when compared to the Defendant’s
  own educational materials about what constituted consent. During the 2013-2014 academic year,
  and indeed throughout the relevant time period, Defendant did not have a policy on sexual
  consent, as stated. During this period, Defendant relied on discussion groups on consent during
  orientation to decide the “community standards” (PSOF ¶ 50) and posted a video on-line that
  included snippets of students contributing a statement as to what consent meant to them. Among
  them is the statement that “silence is not consent.” (Id). Overtly saying stop and/or allegations
  that the accuser was restrained or otherwise could not leave are not required. In any event,
  John’s gesture of putting “my hand against her choking hand to push it away from my throat” is
  a non-verbal gesture to “stop.” (PSOF ¶ 51). This Video was part of Brown’s training and
  orientation on consent and “every incoming freshman was supposed to watch the consent video.”
  (PSOF ¶ 52).

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  or stop.” (PSOF ¶ 49). 7 YCA further pointed out yet another deficit in John’s claims was that

  though he identified Jane’s actions as “violent,” he did not “indicate” that the events were

  “sexual misconduct” and it was not identified as a “Complaint” even though, once again, none of

  these criteria are required for Defendant to meet its obligations under the Code or to investigate

  sexual misconduct so long as it knew or should have known it occurred. (PSOF ¶ 53). 8

         These deficits notwithstanding, YCA testified that Defendant would have had to pursue a

  unilateral investigation, but only if John’s claims met Defendant’s requirements for “special

  circumstances.” (PSOF ¶ 57). Not surprisingly, Plaintiff’s allegations of being bitten until he

  bled and asphyxiated until he wheezed and couldn’t breathe did not rise to a special

  circumstance, as stated:

                 Q: What are special circumstances?
                 A: Typically, I would say there’s . . . or if a particular incident was so severe,
                 either if there was a weapon involved or there were severe injuries, that kind of
                 thing . . . . (PSOF ¶ 58).

         With regard to “special circumstances,” YCA explained that Defendant would not bring a

  complaint against a student who choked another student with her bare hands because

  Defendant’s definition of “weapon does not include your hands.” YCA did acknowledge if the

  student were choked to death, Defendant would act (PSOF ¶ 59), but by that reasoning a student

  who beat up a fellow student with his fists, but does not punch him to death, he may not have his

  actions challenged by Defendant because he used his hands.


  7
   In his statement, John actually stated that he found the interaction with Jane to be “awkward
  and too violent . . . and told Jane he “was going to leave . . .,” but Jane “seemed to be
  commanding me that I had not received permission to leave.” (PSOF ¶54).
  8
    However, YCA acknowledged that Plaintiff did characterize the events as sexual assault at the
  hearing, but it was procedurally too late to address his allegations. (PSOF ¶ 55). YCA’s belated
  observation contradicts her own claim that Defendant did not need to bring a complaint because
  the “panel would be able to consider both. . .” (PSOF ¶ 56).

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          Let’s be clear— regardless of YCA’s variable application on Defendant’s policies, as the

   gate keeper to sexual misconduct complaints, there was no way that Defendant would charge

   Jane with any act of sexual misconduct and no way this African-American male would be

   permitted to bring his complaint against Jane. Quite simply, despite his allegations of injury and

   violence, Plaintiff’s experience did not raise a red flag for YCA in what was alleged by Jane to

   be a sexual encounter. (PSOF ¶ 60). To add insult to injury, YCA also opined that John’s

   allegations against Jane did not warrant being a complaint because in YCA’s opinion, “some

   people choke and like choking,” regardless of the fact that John clearly stated in his statement

   that he was “uncomfortable” with the choking and was “short of breath,” and found the

   experience to be “violent.” (PSOF ¶ 61).

          YCA’s determinations not only deprived John of his procedural right to file a complaint

   against Jane, YCA also deprived John of the intensive and patient pre-complaint support

   Defendant provides to alleged victims of sexual misconduct, a process in which the alleged

   victim’s experience and will to move forward with a complaint are central to Defendant’s

   concerns. As Klawunn explained, “[w]e were trained to talk to students about what their options

   were on campus and off campus, if they wanted to pursue any support, or if they wanted to bring

   a complaint forward off campus or on campus. . . .You can choose to pursue your case; you may

   not want to pursue your case. And I would, sometimes, work with the student for a couple of

   years while they were finishing up their degree. . . . So, sometimes they had hearings; sometimes

   they didn’t, but I would continue to provide support. And I had—actually, I had a student who

   went all the way through. Her assault happened when she was an undergraduate. She went all

   the way through Brown Medical School, and I went to her med school graduation.” (PSOF ¶ 62).




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          Jane clearly benefited from Defendant’s pre-complaint support efforts. As stated, the

   incident between Jane and John occurred on September 20, 2013, but Jane did not file her

   complaint until December 4, 2013. (PSOF ¶ 63). Between those dates and before Jane felt

   “ready to proceed” to file her complaint, Jane met with Bita Shooshani, Brown’s Coordinator of

   Sexual Assault Prevention and Advocacy. With Shooshani’s help, Jane participated in SAPE,

   which is a peer education group regarding sexual assault, where she “shared her personal

   experience with the group.” Through this pre-complaint support, Jane tested the waters by

   sharing her story about John and experiencing support and was able to disclose her experience

   with her parents and professors before proceeding. (PSOF ¶ 64).

          In comparison, when John disclosed his experience with sexual misconduct to YCA, it

   led nowhere. (PSOF ¶ 65). To make matter worse, John’s advisor, Carolan Norris, like YCA,

   experienced “unconscious bias” and did not recognize the sexual misconduct a black male

   student suffered at the literal hands of a white female student. (PSOF ¶ 27).

          Norris is currently Brown’s Senior Associate Athletic Director, but to the best of her

   recollections, she was the head field hockey coach or assistant athletic director, and was John’s

   advisor during T91. (PSOF ¶ 66). She also advised students “through hearings,” in connection

   with various code violations including sexual misconduct since the 1990’s. (PSOF ¶ 67). During

   her tenure as an advisor, she was John’s only advisor, and to the extent that she advised students

   in sexual misconduct cases, all of the students she advised were male. (PSOF ¶ 68). John was

   the only black, male student she ever advised. 9 (PSOF ¶ 69).




   9
    Norris also advised a black female student, but that was in connection with a roommate-dispute
   matter, not a sexual misconduct case. (Norris 27:19-25; 28:1-11)

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          Norris did not like John and she refused to advise him in T92 when he called her

   requesting her help because he called her at ten of three and wanted to meet at 3 o clock. (PSOF

   ¶ 70). Of course, Norris is free to like or dislike whomever she pleases, but not if her reasons are

   indicia of a bias against male and/or African-American student she is advising in a situation that

   could jeopardize his education and future. Generally, Norris thought that John was both

   “arrogant”— he wanted to “take charge of the whole—it wasn’t almost like he needed any

   advising” and at the same time, was also not “serious.” (PSOF ¶ 71). Norris’ depiction of John

   as both “arrogant” but “not serious” discloses Norris’ sense of discomfort in this black male

   rising above his station (arrogant), when he does not have the temperament to be in a position of

   authority (“not serious”), a variation on the common and classic racist stereotype of Blacks being

   “uppity” How dare John ask Norris to meet in 10 minutes like he was her boss! Apparently,

   John, a black, “arrogant” and “not serious” student, due to his station, did not even have a right

   to request to have his serious educational needs met, where Norris, his advisor, clearly had the

   power to accept or decline his request.

          More specifically, Norris’ gripes about John are contradictory and irrational. Norris was

   particularly piqued that John didn’t know Jane’s name at the time of the incident. (PSOF ¶ 72).

   However, when Norris was asked whether she knew if Jane knew John’s name at the time of the

   event, Norris replied that she “never thought of it.” (PSOF ¶ 73). Norris also did not like that

   John told her that “he likes butts” (PSOF ¶ 74), though Norris also acknowledged that there was

   nothing wrong with liking butts and any such preference was irrelevant to T91. (PSOF ¶ 75).

          Moreover, Norris did not like that John wanted to defend himself, and wouldn’t take

   responsibility for his actions. (PSOF ¶ 76). She was offended that John called Jane a “bitch or

   she’s a crazy bitch” and did not appreciate that John thought “he was in the right.” (PSOF ¶ 77).



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   However, when Norris was reminded that to the extent John called Jane “a bitch,” it was because

   Jane bit and choked him, and was asked whether John had to take responsibility for being

   choked, she remarkably replied, “that’s not for me to judge” even though she took it upon herself

   to judge whether John was responsible to Jane. (PSOF ¶ 78). Norris, mind you, was John’s

   advisor during this period and worked as an advisor to men who were accused of sexual

   misconduct on campus.

             Norris worked with John on his statement yet, when asked whether she thought John

   should have brought a case against Jane, Ms. Norris said, “No . . . . It never came into my

   mind.” (PSOF ¶ 79). When asked whether Jane was responsible to John for choking John,

   Norris, demurred and said, “I wasn’t there, so I don’t know.” (PSOF ¶ 80). When she was asked

   if Jane did choke John, would that act “be attributable to a hook up gone wrong?,” Norris said,

   “No.”(PSOF ¶ 81). When asked about JJ’s witness who corroborated that he had a swollen lip,

   Ms. Norris said, “his friend could have lied about his swollen lip.” (PSOF ¶ 82). When asked if

   she was skeptical of all witnesses or just John’s witnesses in particular, she said “no.” (PSOF ¶

   83). 10




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      Despite this whirl of contradictions and “unconscious” bias, Norris also testified that she
   expressed to John that she was “sorry” about what he alleged Jane did to him (PSOF ¶ 86), yet
   she was unable to balance the rights and wrongs in both Jane’s and John’s actions. Norris had
   been involved in another case wherein a white, male respondent acknowledged his wrongdoing
   but alleged that the female complainant also had dirty hands (PSOF ¶ 87). However, Norris
   could not recall if there was any other case like this even though she was John’s advisor in T91
   and was literally being questioned about John’s claims against Jane. (PSOF ¶ 88). Being a black
   male accused by a white woman of sexual misconduct is ground zero for America’s
   “unconscious” biases. Indeed, as John observed, “. . . discrimination exists, and the fact that a
   white girl accused me of hitting her, and . . . in the case it turns out I came nowhere close to
   striking her, damn, it just doesn’t look good.” (PSOF ¶ 89).


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          In addition to these reasons for disliking John, Norris also admonished John for not

   taking “ownership of anything on that night” (PSOF ¶ 84), because something must have

   happened because a hearing had been scheduled (Id). However, when it was pointed out to her

   that John literally took responsibility in his statement for lifting Jane’s dress, which was what he

   was found responsible for and sanctioned, Ms. Norris did not revoke her admonition, and

   confirmed it as “just her opinion.” (PSOF ¶ 85).

          After the T91 hearing, John was found responsible for III a only. (PSOF ¶ 90). In an

   internal memo the hearing board sent to YCA dated February 11, 2014, the Board explained that

   with regard to the panel’s finding that John was not responsible for the III b violation, the panel

   did “not find the physical interaction was violent, and no injury was sustained.” (PSOF ¶ 91).

   Neither the charges, the Findings, nor the Decision addressed Jane’s acts of choking John, his

   loss of breath or John’s bitten and bloodied lip. (PSOF ¶ 92). Indeed, as YCA clarified, if

   neither John nor Defendant Brown brought a charge against Jane, then there is no way she could

   be found responsible for any sexual malfeasance. (PSOF ¶ 93).

          As a result of these findings, John was placed on a deferred suspension through May 15,

   2015. (PSOF ¶ 94). In the Findings Memo, the Board also recommended that “the no-contact

   order should remain in place if either complainant or respondent would wish it to be maintained

   [emphasis added].” (PSOF ¶ 95). Whereas the Decision did not address the Mutual No-Contact

   Order (the “MNCO”), the MNCO did indeed remain in place until 2016 when Defendant

   unilaterally changed it to a singular No Contact Order (“NCO”) to allegedly conform to a new,

   yet non-retroactive rule regarding NCO’s and which only affected John, as will be discussed

   below. (PSOF ¶ 96).




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             Also, in its Decision, Defendant modified and enhanced the deferred suspension from its

   version in the Code which in its entirety follows:

             Deferred suspension is used for offenses found serious enough to warrant suspension, but
             where the specific circumstances of the case mitigate the offense or for repeated offenses
             of a less serious nature. Deferred suspension is a designed period of time during which a
             student is given the opportunity to demonstrate the ability to abide by the community’s
             expectations of behavior articulated in the Code of Student Conduct. A deferred
             suspension may be accompanied by a transcript remark.” (PSOF ¶ 97).

             In the Decision, the sanction included the following enhanced scrutiny and elevation of

   sanctions against John, stating as follows in relevant part:

             During the period of your deferred suspension, any allegations [emphasis added] that you
             violated the Standards of Student Conduct will receive greater scrutiny by the Office of
             Student Life and will increase the likelihood that the matter is resolved through a hearing
             in which more serious outcomes are possible, including separation from the University
             [emphasis in original]. (PSOF ¶ 98).

             YCA, who “participated in drafting” the Decision, (PSOF ¶ 99), acknowledged that the

   version in the Code is the “bible,” the one in which students are “aware of” and “rely on.” (PSOF

   ¶ 100). YCA also confirmed that Jane received a copy of the decision letter with the definition

   of deferred suspension promising enhanced sanctions one the mere assertion of “any allegation.”

   (PSOF ¶ 101).

             John did not appeal the decision. But knowing how nefariously the events of T91 led to

   T92, he regrets that he did not appeal the decision. (PSOF ¶ 102). Jane did. 11    During Jane’s

   appeal process, YCA, who in the spirit of her earlier advice to John that he did not have to

   complain against Jane because his side will be heard, had an opportunity to balance the record

   and address John’s allegations about Jane’s physical aggression towards him. Instead, in her

   summary memo to Klawunn, who was decided Jane’s appeal, YCA specifically identified John’s



   11
        To her dismay Jane lost her appeal of the sanction given to John. (PSOF ¶ 106).

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   alleged acts of choking Jane for which he was not found responsible, but made no reference

   whatsoever to Jane’s acts of biting John’s lip and/or choking him to the point of wheezing.

   (PSOF ¶ 103). 12 Including these claims in her report without acknowledging John’s similar

   claims against Jane was particularly pernicious as it did not reflect the panel’s findings, which

   acknowledged that John “was confused” by Jane’s actions, and that John did not intend to cause

   Jane harm. (PSOF ¶ 105).

   SPRING 2014 T92

          According to YCA, retaliation among students involved in sexual misconduct cases is

   prohibited and YCA claimed to take precautions against retaliation by informing complainants to

   not retaliate. (PSOF ¶ 107). Examples of retaliation include such acts as repeated complaints

   from one party about the other or “spreading information about a person.” (PSOF ¶ 108). In the

   event retaliation occurs, the procedure is to talk to the student being retaliated against and

   determine whether the behavior warrants more attention. (PSOF ¶ 109).

          In the spring semester of 2014, Jane retaliated against John by engaging Sally, and other

   members of her sorority, in a discussion about “certain men on campus and negative interactions

   we have had.” (PSOF ¶ 110). At some point in the conversation, Jane disclosed that John had

   tried to touch her, and that he choked her. However, Jane did not mention that she bit John or

   choked him. (PSOF ¶ 111).




   12
     In not granting Jane’s appeal, Klawunn explained that “we had a finding of responsibility for
   offense III a, and not for Offense III b, which was the sexual misconduct with penetration,
   violent physical force, or injury. “But in his case it was very significant that he was found
   responsible for III a and not for III b, and that’s what made the difference. (PSOF ¶ 104).




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          Since Jane identified John, and since Sally too had had an interaction with John, Sally

   described to Jane her encounter with John. (PSOF ¶ 112). In her telling, Sally clarified that she

   had consented to kissing, but nothing more. While kissing, however, John floated the idea of

   taking a shower together. Sally was not interested in taking a shower with John. (PSOF ¶ 113).

   Regardless, “[John] held me kind of—I don’t want to say ‘push’ because it wasn’t aggressive.

   But it was more kind of leading me there. So not forcing but not—gently pushing me, leading me

   to the shower stall.” (PSOF ¶ 114). Disinterested in the shower, Sally left without resistance

   from John. (PSOF ¶ 115). Jane pounced on this as further evidence that John was a black male

   predator.

          As a result of Sally’s disclosure about John to Jane, Jane asked Sally for permission to

   share her story with a Dean. (PSOF ¶ 116). 13 As a result of Jane’s disclosure to the Dean, the

   Dean contacted Sally and asked her to “come in and make a formal complaint regarding [John].”

   (PSOF ¶ 117). When Sally met with the Dean, Sally expressly explained that she was not

   interested in making a formal complaint about this event for her own sake, but would do so “for

   [the] protection of others.” (PSOF ¶ 119). However, as Sally knew of no other woman who had

   an encounter with John, the other woman Sally wanted to protect was Jane. (PSOF ¶ 120).

   Jane’s influence on Sally and T92 loomed large. Indeed, Sally was not uncomfortable with or

   scared of John as a result of her encounter with him, but became so after listening to Jane’s story.

   (PSOF ¶ 121).

          Sally did file a complaint against John on April 18, 2014. Her account of the events in

   the complaint were more dire than what she said she reported to Jane and the Dean, however. In



    Sally could not recall the name of the Dean, but YCA was certain that the Dean in question
   13

   was Ashley Ferranti. (PSOF ¶ 118).

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   the complaint, Sally characterized John’s “gentle pushing” as “force.” Sally also stated in her

   complaint that as a result of her meeting with the Dean, Sally now felt “comfortable enough to

   finally report” her encounter with John. Sally also included a reference to her friend, Jane’s

   “even worse experience with the same male,” and concluded the complaint with the opinion that

   John is “dangerous,” though she “promptly left” John once she felt “uncomfortable” about her

   interaction with him without any resistance from John. (PSOF ¶ 122).

          As will discussed below, YCA devoted months of patient attention to Sally to help

   investigate her claim, a wonderous act of fortitude given that Sally’s complaint did not include

   YCA’s criteria for a complaint, or at least the criteria a complaint from a black, male requires:

   Indeed, like John, Sally alleged that she was able to leave the encounter; like John, Sally did not

   report that she said “stop. ” (PSOF ¶ 123). Unlike John who described such non-consensual acts

   as being choked and bitten, Sally actually did not describe any “sexual misconduct” and relied

   on conclusory comments like “force” and “dangerous.” (PSOF ¶ 123). In John’s statement, he

   used the word “violent” in connection with being choked so hard he was losing his breath and

   left the encounter without saying stop, none of which raised a “red flag” for YCA. (PSOF ¶ 124).

          Sally’s T92 complaint is the only contribution Sally made to T92. (PSOF ¶ 125). From

   April 18, 2014 until August 6, 2014, when Defendant closed the investigation, Sally refused to

   participate. (PSOF ¶ 126). Indeed, YCA emailed Sally on April 29, 2014 and May 2, 2014 to

   elicit her participation. (PSOF ¶ 127). YCA found it necessary to email Sally, because she “tried

   to communicate with her by phone and was not able to reach her.” (PSOF ¶ 128).

          In the May 2, 2014 email, YCA asked Sally to let her know if she wanted Defendant “to

   move forward with the complaint.” (PSOF ¶ 129). Defendant, by May 2, 2014, indeed had not

   yet started the process in Sally’s case “because we would not start an investigation without



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   speaking to her first . . . to get more information.” (PSOF ¶ 130). YCA also wanted to make sure

   that Defendant didn’t do anything Sally didn’t want, such as move on with the investigation

   without her or issue a NCO. (PSOF ¶ 131).

           With no response from Sally, YCA emailed Sally again on May 6, 2014 in which YCA

   explained that she needs Sally’s cooperation “regarding the details of the incident including the

   name of the other student involved.” (PSOF ¶ 132). Sally responded, and stated that she did not

   “want to take serious action.” (PSOF ¶ 133). She did not provide any further information about

   the incident or even John’s identity. (PSOF ¶ 134). Regardless, Defendant suddenly determined

   that “the serious nature of the allegations” warranted an investigation. Defendant commenced an

   investigation and issued MNCO orders for John and Sally. (PSOF ¶ 135).

           The sudden seriousness of the case is notable. YCA testified that the Dean Sally met

   with provided information about the incident that raised the case to “serious.” (PSOF ¶ 136).

   Otherwise, Sally testified that she told the Dean that she “wasn’t formally complaining that he

   sexually assaulted me,” but that John asked her to go into the shower with him and continued to

   gently push her towards the shower after she said no with her then leaving the encounter. (PSOF

   ¶ 137). When asked what information the Dean provided that helped YCA determine Sally’s

   accusation was serious, YCA explained that the Dean did not provide new information but

   clarified information, which they could now move forward on - namely John’s identity. (PSOF ¶

   138).

           On May 7, 2014, Defendant “removed and barred” John from campus “effective

   immediately” because of the “seriousness of the allegations against you.” It was finals week

   (PSOF ¶ 139) and summer break was right around the corner. Further, John and Sally had been




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   coexisting on campus since October 2013 when the shower incident occurred and since April 18

   when she filed her complaint. (PSOF ¶ 140).

          YCA scheduled a meeting with John in which he was informed of the charges and the

   interim suspension in T92. (PSOF ¶ 141). The purpose of the interim suspension was intended

   to help Defendant make a determination about charges against him, if any [emphasis added].

   (PSOF ¶ 142).

           Present at the May 7th meeting with YCA and John was Maria Suarez, Associate Dean

   and Director of the Student Support Services during the relevant time period. (PSOF ¶ 143).

   Suarez helped students in “crisis,” and with “mental health issues;” she basically helped students

   who were “struggling with any issue that was impairing their ability to be successful. (PSOF ¶

   144). A clinical social worker, Suarez holds an MSW and has an undergraduate degree in

   psychology. (PSOF ¶ 145). During the relevant time period, she was Associate Dean and

   Director of the Student Support Services and prior to that, Suarez “saw students for short-term

   psychotherapy” in her position as Associate Director of Brown’s Psychological Services,

   subsequently known as CAPS. (PSOF ¶ 146). John was one of the students Suarez helped.

   During T91, Suarez has sessions with John around 10 times with each lasting at least 30 minutes

   and some lasting 50-60 minutes. (PSOF ¶ 147). During these sessions, Suarez and John “talked

   a lot about race and pressures, and his pressures growing up at home.” (PSOF ¶ 148). In

   particular, they discussed “the difficulties if being a biracial male, both at home when he was

   growing up and on campus” and “the pressure of being the eldest son of an African man and the

   responsibilities of or the expectations of that family in Africa on them.” (PSOF ¶ 149). They had

   “identity discussions,” and one of the conversations they had “was about dating women, white

   women, black women, who he was attracted to.” (PSOF ¶ 150).



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          YCA recalled that at the meeting John was devastated by the accusation and the interim

   suspension. YCA testified that John “screamed, he cried, he paced. He got on the floor and

   cried.” (PSOF ¶ 151). At the end of the meeting, Suarez thought John was so distraught that she

   proceeded to walk John over to Defendant’s Counseling and Psychological Services (CAPS) for

   a psychiatric evaluation. During the walk to CAPS, Suarez recalled that John identified women

   on the green whom he had “hooked up with,” 14 and wondered aloud whether any of these

   women would accuse him of sexual misconduct. (PSOF ¶ 152). Suarez believed that she

   reported John’s legitimate, fear-based, comments to Dean Ward in her debriefing with him.

   Suarez characterized this experience, while walking with John to CAPS, as “stunning” especially

   in the context of him being accused of sexual misconduct. (PSOF ¶ 154). When asked whether

   John may have revealed this history as an effort to protect himself as he had just been accused

   for the second time as a freshman of sexual misconduct, Suarez responded as if that possibility

   never occurred to her. (PSOF ¶ 155). To Suarez, the issue was John’s “stunning” expression of

   proficient sexual experiences, which is a danger sign for black males, not John’s sense of being

   persecuted for his sexuality, being a male, or the perception of him being a black male predator.

   Both gender and racial stereotypes are clearly implicated here.

          At CAPS, John reported suicidal ideation upon hearing about T92 and thought that he

   might “slit his wrists,” or climb “to the top of the OMAC and jump” or “take some drugs.”

   Noting that John was experiencing “an adjustment reaction with mixed anxiety and depression,”

   CAPS reported to Suarez that he was safe to return to campus. (PSOF ¶ 156).




    Suarez clarified that “hooked up” covered the entire range of sexual interaction including
   14

   merely kissing. (PSOF ¶ 153).

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          Defendant’s investigation of T92 moved forward. From May 7 to August 7, the

   investigation basically consisted of John’s Statement, which he submitted on May 23 and one

   other email from YCA to Sally, on June 17, 2014 at 3:48 pm, in which YCA asked Sally to call

   her “to talk briefly about the complaint you filed.” (PSOF ¶ 157). The apparent reason YCA sent

   Sally this email is because on June 12, 2014, John emailed YCA to ask for an update about T92.

   YCA responded to John’s email on June 17, 2014 at 3:35 pm, and stated “that nothing will move

   forward until the Fall.” (PSOF ¶ 158). At 3:48 pm, YCA once again entreated Sally to

   communicate with her. (PSOF ¶ 159). Sally did not respond to the June 17 email. (PSOF ¶ 160).

   On July 30, YCA emailed John’s Mother to report that “[w]e have been working with the other

   party [Sally] . . . .” (PSOF ¶ 161). This assertion was categorically false. (PSOF ¶ 161). On

   August 1, YCA reported to Dean Ward an accurate account of the degree of work on T92 YCA

   had achieved stating: “FYI, I still have not heard from the other student.” (PSOF ¶ 162).

   Defendant gaslighted John and his family all summer. (PSOF ¶ 163).

          In the meantime—from May 12 to July 22— John’s Mother (“Mother”) communicated

   with YCA in a series of emails (PSOF ¶ 164). In the course of these emails, Mother addressed

   the emotional duress John and the family were experiencing especially given the amount of time

   the investigation was taking and their being left in the dark. (PSOF ¶ 165). Moreover, she

   addressed procedural anomalies in the investigation. (PSOF ¶ 166).

          In particular, Mother noted that the Defendant’s Code specifically required that a hearing

   must commence 60 days from receipt of the complaint unless extended by written petition by the

   case administrator, the complainant or the respondent. (PSOF ¶ 167). No hearing was ever




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   scheduled and there was no written petition filed, yet John remained in purgatory during this

   period. (PSOF ¶ 168). 15

          Moreover, the Code provides specific requirements with regard to complaints “filed more

   than sixty (60) days after the alleged incident.” (PSOF ¶ 171). In such circumstances, the

   complaint needs to include name(s) of all witnesses, or others who have information . . .” (PSOF

   ¶ 172). As we have seen, the T92 complaint does not even identify John, nor does it identify any

   witnesses or factual allegations about the incident. (Id). Another anomaly was that Defendant

   failed to adhere to its own interim suspension policy, which permits an interim suspension of

   “individuals [which] pose a danger to themselves or the immediate well-being of the University

   community.” (PSOF ¶ 173). John was not a danger to himself, nor was he an “immediate”

   danger to the community. (PSOF ¶ 174). The event alleged in T92 occurred nearly 6 months

   before Sally filed her complaint, and Sally told the Dean that she was not in danger and that she

   knew of no one other than Jane who had been impacted by John. (PSOF ¶ 175). Indeed, as YCA

   acknowledged, that when a student is on deferred suspension and a second complaint arises, the

   student is not automatically “separated from the community.” (PSOF ¶ 176). According to

   YCA, there has to be another standard of “danger of some sort.” (PSOF ¶ 177). There was no

   danger of any sort to anyone.

          Yet another anomaly in T92 is that the Code required that, to be actionable, Complaints

   must “allege violations of the Code . . . .” (PSOF ¶ 178) which T92 did not. We have seen that

   Sally used the word “force” in her complaint. T92 Complaint. (PSOF ¶ 179). However, Sally

   testified that she described the incident to the Dean as “gentle pushing,” and specifically stated to


   15
     YCA had underscored the likelihood of there being a hearing because T92 was a repeated
   offense and because John was already on deferred suspension. (PSOF ¶ 169). Indeed, the Code
   identities John’s situation as one requiring a hearing for these reasons. (PSOF ¶ 170).

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   the Dean that she was not filing a complaint about any “sexual assault” she experienced. (PSOF

   ¶ 179). Defendant knew that Sally expressed no event that violated the Code, but was

   encouraged to report John anyway, and Defendant was aware from Sally’s meeting with the

   Dean and her explanation of events that there was no danger that John posed. 16 Defendant knew

   Jane was the driver of these events against John.

          Given “scrutiny and the fact that Mom is a lawyer,” Klawunn determined that Sally

   should get one more week to cooperate with the investigation; otherwise Defendant would close

   the case. (PSOF ¶ 181). Defendant at last closed the case and released John from the interim

   suspension on August 7, 2014 and declared that it would not move “forward with any further

   action” unless “we obtain additional information.”(PSOF ¶ 182). Sally provided no further

   information to Defendant. (PSOF ¶ 183).

   2014 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS:

          From the time John was put on interim suspension on May 7, 2014 in connection with

   T92 to when T92 was closed on August 7, 2014, John was under tremendous emotional duress.

   As we have seen, John experienced a complete emotional breakdown and suicidal ideation when

   he was informed of T92. The months waiting for the next shoe to fall was constant duress for

   him and his family. (PSOF ¶ 184). When John returned to campus for the fall 2014 semester, he

   was depressed and self-medicating with marijuana. (PSOF ¶ 186). On October 22, 2014, John

   had a crisis appointment with Dr. Braithwaite-Gardner at CAPS. John reported that he “has been

   sleeping all day” and “having trouble getting out of bed.” John explained that he had “worst

   summer of his life” as a result of “being accused of sexual misconduct” and being “asked to



   16
     Defendant misrepresents that Sally made her complaint against John “without anyone
   influencing her.” Sally actually testified that Jane encouraged her to complain. (PSOF ¶ 180).

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   leave campus.” (PSOF ¶ 187). John further disclosed that “the uncertainty put a strain on his

   family. Everyone was fighting and it almost ended his parents’ marriage.” (PSOF ¶ 188). 17

   Prior to that appointment, he met with an MSW who reported that John was putting “on a very

   brave front as if trying not to cry.” The MSW concluded that John seemed “hopeless” and

   “disconnected from his feelings.” (PSOF ¶ 189).

          On October 23, 2014, John was assessed by John Kane, MD at CAPS. The assessment

   accounts for John’s “history of depressive symptoms and substance abuse” that “emerged during

   his freshman year . . . in the context of two accusations of sexual misconduct.” In particular,

   John reported that the second accusation caused him “significant depression” as well as “suicidal

   ideation.” (PSOF ¶ 190). Dr. Kane assessed John’s psychiatric status as being “moderate to

   severe depression including hypersomnia, decreased appetite, concentration and energy.” (PSOF

   ¶ 191). Dr. Kane also noted that John was “contending with significant repercussions from the

   two allegations last year including a sense of shame and anger at himself, a decrease in self -

   esteem, and significant conflict with his family.” (PSOF ¶ 192).

          On October 24, 2014, while John was still suffering from the repercussions of T91 and

   T92, Jane pushed her agenda against John, and scheduled a meeting with YCA to discuss alleged

   violations to their MNCO. (PSOF ¶ 194). On October 27, 2014 Jane produced a document of the

   alleged violations, which she described to Shooshani in an October 20, 2014 email as “somewhat

   minimal” though “less than enjoyable.” (PSOF ¶ 195). 18



   17
     Defendant was aware of the strain the interminable wait puts on students. Suarez noted that
   “the most difficult aspect of the conduct hearing . . . is not knowing the outcome … and not
   having power over what the outcome is going to be. (PSOF ¶ 185).
   18
     On October 19, 2014, John’s Mother sent an email to YCA in which she accused Jane of
   violations of the WNCO and reminded YCA of her husband’s request to protect John from
   Jane’s and Sally’s “conspiracies.” (PSOF ¶ 193). John stated that “[Jane] would show up at
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          While repeated complaints from one party about the other may be retaliation, the process

   of dealing with MNCO violations between students was in the first instance, a conversation with

   the accused student that would be an instructional on parameters. If further action was required,

   there would be a hearing (PSOF ¶ 196); however, given the foot print of the campus and the

   unavoidable and unintended contact, the dean’s hearing is reserved for “persistent and repeated”

   violations that have been addressed but for which there has been no change, or if the violation

   was “significant and clearly intentional” such as “banging on the person’s door. (PSOF ¶ 197).

          Jane’s “minimal” violations mostly address off campus encounters, and in all cases, John

   exited them even though both Jane and John were still under mutual NCO’s at this time. (Id).

   There is no record that any process regarding Jane’s alleged MNCO violations occurred to

   determine whether they were serious, or if anyone met with John to discuss Jane’s alleged

   violations and the MNCO parameters. (PSOF ¶ 198).

          Late in the evening of October 24, 2014 John attempted suicide by “jumping in front of a

   car in the context of 2 allegations of sexual misconduct during the last school year.” (PSOF ¶

   199). John was admitted to Rhode Island Hospital on October 24, 2014 and discharged on

   October 28, 2014. (PSOF ¶ 200). In his discharge summary, RIH reported that John denied

   “guilt” in connection with the accusations but began to believe “that it must be true” and that he

   had suicidal ideation during T91, but also during T92. (Id). 19




   lacrosse house parties, parties that were put on by the lacrosse team in the lacrosse home . . . I
   felt that it was rather interesting that she would choose to go to an event where I would be.” (Id).
   19
      Defendant misleadingly misrepresents that Brown’s incident report characterizes John as being
   in an “hallucinogenic state” and also speaking incoherently. (Def. Brief pp. 30-31; Def. Ex. CC).
   Ex. CC makes no mention John being in a “hallucinogenic state” or speaking incoherently—in
   fact the report accounts for John’s clear statement “that he was going to harm himself.”

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          Defendant was aware of the event and John’s stated reasons for its occurrence. John

   provided Defendant with two medical authorizations to release his CAP’s records to on October

   22, 2014 and to Suarez on October 28, 2014 prior to the Oct. 28 meeting, (PSOF ¶ 200).

   Moreover, In the discharge notes compiled by Jackie Twitchell, Psych. D. of CAPS on October

   28, 2014, she noted that what led John to jump in front of a moving vehicle is connected to

   having “been devastated by the accusations against him” and “thinking that if people are

   accusing him of being a rapist, maybe he is a rapist” and deserved to die. John also reported that

   “he does not feel supported” by the lacrosse team, “playing lacrosse is the one thing that has kept

   him motivated to stay at Brown.” (PSOF ¶ 201). Dr. Twitchell reported to Suarez that “the

   hospital cleared him and that the doctor does not see him as a threat to himself or others and they

   did not prescribe medication.” (PSOF ¶ 202).

          Throughout this incident, John was concerned that he would be forced to take a medical

   leave as he wanted to continue playing lacrosse and did not want to leave school again. He

   expressed his concerns “about being forced to take leave” on October 24, 2014 to Sherri North,

   PhD at CAPS, who explained to John that at Brown, “leave is not a forgone conclusion.” (PSOF

   ¶ 203). That being said, Dr. North took John’s suicidal attempt and ideation very seriously and

   urged his hospitalization. (PSOF ¶ 204). By October 28, 2014, RIH determined that John was

   “medically stable to resume his Lacrosse responsibilities without restrictions effective

   immediately.” (PSOF ¶ 206). 20



   20
      How seriously Defendant wants to take John’s suicide attempt has been a moveable feast.
   Currently, it is in Defendant’s interest to make light of John’s suicide attempt. However, in real
   time and as seen, Defendant’s CAP’s personnel took John’s actions seriously. Moreover, when
   it suited Klawunn, she too expressed concern about “the seriousness of the incident”, though
   actions speak louder than words. (PSOF ¶ 205).


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          Suarez and Klawunn had different plans. As defined by Suarez, “medical leave of

   absence is a leave of absence . . . that is supported by the student’s healthcare provider.” At the

   time, mandated leaves of absence, as opposed to voluntary leave of absence, was no longer

   allowed. (PSOF ¶ 207). When considering medical leave with a student, Suarez, testified that

   “she works closely with students giving them their options and walks them through the pros and

   cons of the leaves available to them as well as looking at what it is that they are hoping to gain

   from time away.” (PSOF ¶ 208).

          With mandatory medical leave removed as an option, Suarez had a plan to coerce John to

   leave voluntarily. Dr. Twitchell’s notes account for a telephone conversation she had with

   Suarez as follows:

          10/28/2014 I called Dean Suarez . . . . She said that Margaret Klawunn and her were
          meeting with [John] at 5:30 to tell him that there is a no contact order violation against
          him and he will have to move out of his room in the lacrosse fraternity as a result. There
          will also be conduct charges against him for underage drug use and conduct charges
          against him for damage to the car he threw himself toward. . . . After some reflection, I
          called her back and expressed my concern for his safety if these charges were brought
          against him the same night he was discharged from the hospital and asked that this be
          delayed in light of his recent suicide attempt. She indicated that the move would have to
          be addressed because he cannot go back to his room given the accusation that he violated
          his no contact order. We discussed how much he should know up front and how much
          should be mediated given his fragile state [emphasis added]. (PSOF ¶ 209).

          Suarez did not take Twitchell’s advice. John, his Mother, Suarez and Klawunn met on

   October 28. The following is John’s account of the meeting as alleged in the Second Amended

   Complaint:

          The two Brown officials were aware of John’s severe emotional state and that he had been
          released from the hospital just hours before they held the scheduled meeting. Regardless,
          they informed John that if he chose not to leave, he could expect to face hearings on several
          matters, including the damage sustained by the vehicle that he threw himself into when he
          attempted to harm himself (it would be regarded as vandalism), and an allegation he had
          violated his “no contact” order with Jane. Vice President Klawunn and Dean Suarez also
          informed John they would seek to remove John from his dormitory that day because of the
          claimed violation of his no-contact order. Finally, Vice President Klawunn informed John

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          that the sexual misconduct complaint from the previous spring involving Sally could still
          be revived. . . . . John jumped up from his seat and cried, “Do you just want me out of
          here?” At that point, John’s Mother said to them both, “Enough! This is enough! You
          have traumatized him enough.” (PSOF ¶ 210). 21

          Conveniently, neither Suarez nor Klawunn recall the details of this meeting. (PSOF ¶

   212). However, an internal email dated October 29, 2014 disclosed Klawunn as a willing

   participant: If John “does not come in saying he will take a medical leave, which is possible

   given the mother’s disgust that we must not want him here if we continue to bring up concerns

   about his behavior, we will be telling him he has to go—either a mandatory leave or something

   based on concerns about his behavior.” (PSOF ¶ 213).

          John went on medical leave for the 2014-2015 academic year effective November 5,

   2014, with a plan to re-apply for admission for the fall 2015 semester. (PSOF ¶ 214). John

   applied for readmission which included a letter in support from Dr. North who worked in CAPS,

   among other recommendations. (PSOF ¶ 215). However, Defendant denied John readmission on

   June 1, 2015. (PSOF ¶ 216). 22

          Suarez has no recollection of the readmission process for John, but pointed out that it was

   a committee decision. (PSOF ¶ 218). On the committee and managing the readmission process

   was Ashley Ferranti, the Dean who most likely spoke with Sally about T92. (PSOF ¶ 219). On


   21
     These threats were vicious and readily achievable by further violating Defendant’s policies and
   practice. John’s Mother had already paid for the windshield that was damaged. (PSOF ¶ 211).
   As for Jane’s alleged MNCO violations, Defendant’s practice and process of talking to John to
   set parameters had not been met and instead had been violated with the threats. As for T92, and
   as we have seen, Defendant would re-open the case if it acquired “more information.” However,
   Sally did not provide information during the investigation or after the instigation closed (PSOF ¶
   183). The threat to John was intentionally made despite the fact there was no basis to “revive” it.
   22
     To John, the denial for readmission “just went against everything that the school had told me
   about the process . . . . I was doing everything I possibly could.” (PSOF ¶ 217).




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   June 4, 2015, John sent an email to Suarez in which he addressed his reluctance to withdraw in

   the first place, and appealed the decision on June 9, 2015. (PSOF ¶ 220).

          On June 12, 2015, John’s Father communicated with Brown’s President Paxton about the

   denial of re admission and mentioned racial discrimination as a possible motivation. On June 18,

   2015, President Paxton replied that she shared Father’s concerns with Maude Mandel, the Dean

   of the College. (PSOF ¶ 221). On June 16, 2015—the interim period between Father’s email to

   President Paxton and President Paxton’s reply—Klawunn reiterated in an internal email a threat

   to discipline John and that if the issue were not referred to Maude [Mandel], “we would require

   [John] to have a student conduct board hearing for his behavior before considering him for

   readmission [emphasis added].” (PSOF ¶ 222). When asked during her testimony what the basis

   to disciplinary hearing was, Klawunn stated that “it may have been around the [alleged violations

   made by Jane to the] no contact orders.” (PSOF ¶ 223). John was readmitted on June 19, 2015.

   (PSOF ¶ 224).

          The threats of discipline, the medical leave, the denial for readmission, were pre-

   determined and intended to keep John off campus. Indeed, Suarez seemed inclined to remove

   John from campus in connection with T92. In an email between John’s Mother dated October

   25, 2014, and Lars Tiffany, John’s lacrosse coach, he accounted for a conversation he had with

   Suarez in May 2014 in connection with T92 in which Suarez “made the strong suggestion that JJ

   would not be invited back to Brown in the Fall.” (PSOF ¶ 225).

          The medical leave was Defendant’s second chance to get John off campus and keep him

   off. On November 6, 2014, just days after the medical leave commenced, YCA scheduled a

   meeting with Jane to give her “an update about John.” (PSOF ¶ 226). After the meeting, Jane

   wrote to her sexual assault advisor, Bita Shooshani, that she had good news: “[John] is officially



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   . . . no longer on campus. He is unlikely to return until at least Spring 2016.” Shooshani wrote

   back pleased with the “great update.” Jane replied, “They seemed skeptical that he would even

   come back then . . . .” (PSOF ¶ 227).

           In the Fall of 2015 when John did return to campus, Jane too was on campus, just to visit

   as she was taking the 2015-2016 academic year off for medical leave. 23 In her email to YCA

   dated September 15, 2015, she expressed her concern that John was back on campus when it was

   her “understanding that he was not going to be returning until at least Spring 2016.” (PSOF ¶

   229).

   CONTINUING NCO ISSUES (YCA)

           On April 13, 2016, for an anticipated return visit to campus in the Spring of 2016 (when

   she was also on leave), Jane notified YCA to remind JJ “of the [M]NCO . . . .” (PSOF ¶ 230).

   YCA responded to this request with something better. On April 14, 2016, YCA informed Jane

   that she “will send out an updated NCO to reflect the changes to our policy around sexual

   assault” and revoked the MNCO and issued a new NCO restricting John only. (PSOF ¶ 231).

   The 2016 change in policy was not intended to be retroactive. (PSOF ¶ 234).

           During the relevant time period, the MNCO/NCO policy was that Defendant would issue

   a mutual NCO between the accuser and the respondent and if there was a finding of

   responsibility, the mutual NCO would remain in place. (PSOF ¶ 232). However, there was a

   change in policy in 2016 which provided a unilateral NCO against the respondent if he was

   found responsible. (PSOF ¶ 233). Regardless, the respondent could still request a mutual no

   contact order and indeed, YCA’s office, OSL, would still issue mutual no-contact orders, even



    Whereas YCA alerted Jane as to John’s whereabouts, YCA did not alert John to Jane’s
   23

   whereabouts. (PSOF ¶ 228).

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   though the Title IX office would issue only unilateral NCO’s starting in 2016. (PSOF ¶ 233).

   Regardless of these changes, the MNCO in T91 was required to stay in place. Indeed, as per the

   Findings (Ex. 17), the Board confirmed that the mutual no contact order should remain in place

   so long as “complainant or respondent would wish it to be maintained.” (PSOF ¶ 235). In two

   emails to YCA John demanded that YCA maintain and enforce the MNCO arguing that Jane’s

   actions “endangered his life.” (PSOF ¶ 236).

          Defendant did not uphold the MNCO and did not impose a NCO on Jane; when YCA

   was asked during her deposition whether she was concerned enough by John’s claim that Jane

   had “endangered his life” to keep Jane under the existing NCO, she replied, “I did not put an

   NCO on [Jane], so I would say no.” (PSOF ¶ 237). John was the only student whose MNCO

   was converted to a NCO retroactively under the 2016 guidelines. (PSOF ¶ 238).

          On May 4, 2016 Sally and John communicated with each other through text messages in

   which Sally confirmed that when she complained about the incident to Defendant, she “never

   said it was sexual assault” and that she “felt like I was pushed into reporting a situation.” (PSOF

   ¶ 239). Sally also confirmed that Jane initiated the complaint process: “I was called into a dean’s

   office because [Jane] talked to me about what happened” and Sally “had to I guess report on our

   interaction” to the dean. (PSOF ¶ 240).

                                             ARGUMENT

          The majority of Plaintiff’s claims allege either gender discrimination (Title IX, Hostile

   Environment/Harassment; Gender Discrimination; Selective Enforcement, R.I.G.L. § 42-112-1),

   or racial discrimination (42 U.S.C. § 1981, Title VI, R.I.G.L. § 42-112-1). 24 In the First



    The remainder of Plaintiff’s claims are Intentional Infliction of Emotional Distress, Breach of
   24

   Contract and Covenant of Good Faith and Fair Dealing.

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   Department, claims of gender bias (as well as racial bias, as will be discussed below), which

   entail “unsettled issues of motive and intent . . . will normally preclude the Court from granting

   summary judgment. Mulero-Rodríguez v. Ponte, Inc., 98 F.3d 670, 677 (1st Cir., 1996)

   (reversing summary judgment and emphasizing that "determinations of motive and intent . . . are

   questions better suited for the jury"). “These matters can often only be proved by reliance upon

   circumstantial evidence except in the rare case where there is uncontroverted proof of a ‘smoking

   gun’.” Negron v Lexus De San Juan, 2007 US Dist LEXIS 108888, at *5-6 [DPR 2007). 25

   Consequently, “[t]here is no mathematically precise test” to determine “whether alleged

   instances of offensive conduct reach the requisite level of pervasiveness and/or severity to

   constitute actual harassment.” Instead, the Court looks to “numerous factors (to which we assign

   no particular determinative weight) in order to guide us in our resolution of these difficult

   situations: severity of the discriminatory conduct, its frequency, the extent to which the behavior



   25
      As applicable to Plaintiff’s gender-discrimination arguments as it will be to his racial-
   discrimination arguments discussed below, it is wise to note that “[f]ifty years after the passage
   of the civil rights laws, it is unlikely that there will be a smoking gun . . . This is especially so
   when the contested fact is racial animus. ‘Title VII's prohibition against 'disparate treatment
   because of race' extends both to employer acts based on conscious racial animus and to employer
   decisions that are based on stereotyped thinking or other forms of less conscious bias." Thomas
   v. Eastman Kodak, 183 F.3d 38, 42 (1st Cir. 1999). Small v Massachusetts Inst. of Tech., 584 F
   Supp 2d 284, 294 (D Mass 2008). Moreover, the Second Circuit has similarly recognized that
   “the court must be mindful of the ‘elusive’ nature of intentional discrimination,” and that “clever
   men may easily conceal their motivations [internal cites omitted]." Vega v. Hempstead Union
   Free Sch. Dist., 801 F.3d 72, 86 (2d Cir. 2015). As was addressed during the motion to dismiss
   stage, Brown cannot argue with the clever-men (and women)-who-may-conceal argument. In a
   way, Brown has written the book on the nature of concealed racial animus as Brown is in the
   forefront of studying the ways contemporary, racial animus is expressed in a seemingly
   sophisticated and post-racial culture. According to Brown’s Center for the Study of Race and
   Ethnicity in America (CSREA), racism is no longer evidenced by overt “colored-only” laws or a
   burning cross in the front yard. Racial animus has gone underground and is evidenced by its
   “structural” components, which are characterized as “the normalized and legitimized range of
   policies, practices, and attitudes that routinely produce cumulative and chronic adverse outcomes
   for people of color, especially black people . . .” (SAC ¶ 160).

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   is physically threatening or humiliating as opposed to a mere offensive utterance . . . . on a case-

   by-case basis.” Franchina v City of Providence, 881 F3d 32, 46 (1st Cir 2018); see also Gerald

   v. Univ. of P.R., 707 F.3d 7, 18 (1st Cir. 2013). 26

          From September 2013 through May 2016, Defendant through the actions of YCA,

   Suarez, Klawunn and Norris thwarted, impeded, oppressed and nullified John’s dignity as a

   black man and his rights to a non-hostile and discrimination-free education environment with

   Nurse Ratched style precision. 27

          John was discriminated against at Brown because of his male gender and sexuality and/or

   because of his race—with respect to his comparables, Jane and Sally, both white and female,

   John, a black man. As John pointed out, “. . . discrimination exists, and the fact that a white girl

   accused me of hitting her, and . . . in the case it turns out I came nowhere close to striking her,

   damn, it just doesn’t look good.” (PSOF ¶ 89). Being a black male accused by a white woman of

   sexual misconduct is ground zero for America’s “unconscious” biases.

          Defendant in its motion for the most part “forwent discovery and rested on unattested and

   conclusory assertions and conjectures.” Das v Cri-Tech, Inc., 1991 U.S. App. LEXIS 13521, *9

   (1st Cir., 1991). It’s motion for SJ must be denied in its entirety.


   A.     Title IX: Hostile Environment/Sexual Harassment/Gender Discrimination




   26
     Franchina v City of Providence, 881 F3d 32, 46 (1st Cir 2018), which deals with Title VII and
   does not directly address the claims herein; however, the First Circuit’s willingness to adopt Title
   VII jurisprudence as “an applicable legal framework” for Title IX remains instructive. See
   Frazier v Fairhaven Sch. Comm., 276 F3d 52, 67 (1st Cir 2002).
   27Nurse Ratched, a fictional character in Ken Kesey’s, One Flew Over the Cuckoo’s Nest
   (1962), was a psychiatric nurse who presided over a men’s ward and officiously imposed
   authoritarian structure and processes to oppress the men in her ward and diminish their dignity.
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          In order to establish liability in connection with a “Title IX hostile education environment

   claim, a plaintiff must allege: (1) that he or she was subject to severe, pervasive, and objectively

   offensive sexual harassment by a school peer, (2) that the harassment caused the plaintiff to be

   deprived of educational opportunities or benefits (3) that the funding recipient knew of the

   harassment, (4) in its programs or activities and (5) it was deliberately indifferent to the

   harassment such that its response (or lack thereon) is clearly unreasonable in light of the known

   circumstances.” Doe v Brown Univ., 327 F Supp 3d 397, 403 (DRI 2018)

          In order to establish liability in connection with a “Title IX deliberate indifference claim,

   a plaintiff must show that an official with authority to implement corrective measures was aware

   of and deliberately indifferent to an act of discrimination on the basis of sex. Severe sexual

   harassment creating a hostile environment can constitute actionable sex discrimination.” Doe v

   Brown Univ., 327 F Supp 3d 397, 403 (DRI 2018). Moreover, "the deliberate indifference must,

   at a minimum, 'cause [students] to undergo' harassment or 'make them liable or vulnerable' to it."

   Porto v Town of Tewksbury, 488 F3d 67, 72 (1st Cir 2007)(alteration in original) (internal cites

   omitted)..

          Sexual harassment, even a single event, even if it does not include YCA’s “special

   circumstances” (PSOF ¶¶ 57-59), in and of itself can create a sexually hostile educational

   environment, and “Title IX provides a remedy for students, regardless of their sex or gender,

   who can establish a school's response to their allegations of sexual harassment, including claims

   of sexual violence, demonstrates deliberate indifference.” Doe v Amherst Coll., 238 F Supp 3d

   195, 223-224 (D Mass 2017), quoting Davis, 526 U.S. at 653-54; see also Frazier, supra, 276

   F.3d at 65-66. The Amherst court explained it as follows:

          “The College's obligations, as clarified in the Dear Colleague letter (¶ 40), do not
          commence only upon the filing of a formal complaint, but whenever a school ‘knows, or

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          reasonably should know, about possible harassment’ of a student, regardless of whether
          the harassed student actually makes a complaint. Thus, while Doe never filed a formal
          complaint, the College certainly learned that Jones may have engaged in sexual activity
          with Doe while he was ‘blacked out’ and yet, Doe asserts, the College did not take even
          minimal steps to determine whether Doe should have been viewed as a victim under the
          terms of the Policy. These allegations provide a sufficient basis for Doe to proceed with a
          Title IX deliberate indifference claim against the College.”

           Amherst Coll., supra, at 223-224.

          With regard to the “single incident” standard, a student's claim of hostile environment

   can arise from a single incident. Torres v Puerto Rico, 2004 US Dist LEXIS 30406, *16-17

   (DPR, 2004) (citing Brown v. Hot, Sexy and Safer Productions, 68 F.3d 525, 541 n. 13 (1st Cir.

   1995)) (noting that "a one-time episode is not per se incapable of sustaining a hostile

   environment claim"). A hostile environment claim requires the victim to have been subjected to

   harassment severe enough to compromise the victim's educational opportunities and, in the case

   of a Title IX claim, the institution must have had actual knowledge of the harassment and have

   exhibited deliberate indifference to it. Id., (quoting Wills v. Brown Univ., 184 F.3d 20, 26 (1st

   Cir. 1999))..

          At last, the harassment has to be on the “basis of sex” which can, but need not be

   motivated by sexual desire.” Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 80, 118 S.

   Ct. 998, 140 L. Ed. 2d 201 (1998); see also Morgan v. Town of Lexington, MA, 823 F.3d 737,

   745 (1st Cir. 2016) (quoting 20 U.S.C. § 1681(a)); (Lopez v City of Somerville, 2018 US Dist

   LEXIS 103701, at *14, n 8 (D Mass, 2018).

          John alleged that Jane choked and bit him until he bled. He couldn’t breathe. He called

   this behavior “violent.” These are allegations of severe sexual violence. John disclosed these

   acts to Defendant in his December 6, 2014 statement required in T91. His advisor, Norris, did

   not at the time of T91 nor at the time of her deposition recognize these claims as being acts even



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   of sexual harassment let alone sexual violence. (PSOF ¶ 27). Neither did YCA. (Id). John spoke

   to YCA about making a complaint against Jane based on these claims. YCA discouraged John

   from making the complaint, unless he wanted to do so after T91 concluded even though

   Defendant had a practice of allowing students to make “counter” complaints against their

   accuser. (PSOF ¶ 34). Although YCA acknowledged obligations to investigate sexual

   harassment pursuant to the Dear Colleague Letter, she imposed “special circumstances” criteria

   that required the use of weapons. One’s hands, even if being used to choke someone, did not fit

   YCA’s unilaterally imposed and inconsistently applied criteria. (PSOF ¶¶ 57-59).

          John’s comparators, Jane and Sally, both white and female, were treated differently.

   Both were encouraged to make their complaints. Jane, in particular, benefitted from a pre-

   complaint support system for months between the incident and when she filed her complaint in

   which she was able to cultivate her story against John before fellow students at SAPE and

   prepare her parents and professors. (PSOF ¶ 64). Sally, with Jane’s encouragement and

   intervention to connect the Dean with Sally, was invited to a meeting with the Dean who made

   her feel comfortable enough to file her complaint against John. (PSOF ¶¶ 116-119). When

   Sally’s interest in the case faltered, Defendant kept the investigation going for months and

   continued to encourage her to participate through emails. (PSOF ¶¶ 127-128). When Sally failed

   to respond, Defendant unilaterally decided to pursue the investigation, though Sally’s claims,

   which were known to Defendant to be far less dramatic than the actual complaint stated, had

   none of the “special circumstances” YCA required of John. Moreover, Defendant breached the

   Code to proceed.

          Defendant relies on Nungesser v. Columbia I and II to argue that being identified as a

   rapist does not satisfy Title IX’s “basis of sex,” requirement. However, the evidence shows that



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   Brown’s discriminatory management of T91 and T92 left John appropriating the identity of a

   “rapist” in the same way people who are systemically discriminated against appropriate the

   negative characteristics and become parodies of the gender or racial stereotype that are imposed

   upon them (such examples include the dumb-blond bombshell, the neurotic Jew, the hyper-sexed

   strapping black athlete). Heartbreakingly, John appropriated Defendant’s biases during and after

   his suicide attempt on October 24, 2014 in that John called himself a “rapist” and was motivated

   to kill himself as a result—“if people are accusing[me] of being a rapist, maybe [I am] a rapist

   and deserve to die.” (PSOF ¶ 201). The proof of Defendant’s discrimination is in its spoils:

   John started Brown as an All American having won awards for his athleticism and character and

   after a year at Brown (and one year of coerced medical leave), John was a diminished, broken

   man, self-identified as a rapist. A lesser man might have hyped-up the swagger (though it could

   be argued that John’s switch from finance to theater/acting/modeling and its accompanying focus

   on parties, events and fashion is a lingering manifestation of his perceived fall). Instead, John

   deemed himself unworthy to be alive. John got to that point on the basis of Defendant’s

   “unchecked biases” against his gender (and race).


   B.     Title IX—Selective Enforcement (T92)

          To prevail on his Title IX selective enforcement claim, must establish that his gender was

   a motivating factor behind Defendant’s decision to pursue T92. Doe v Amherst Coll., 238 F Supp

   3d 195, 223 (D Mass 2017). As this Court determined, “a similarly situated comparator of

   another gender is required.” Doe v Brown Univ., 327 F Supp 3d 397, 412-413 (DRI 2018). John

   has two—Jane and Sally.

          As discussed above, John was subject to gender discrimination not just because

   Defendant discouraged John’s access to Defendant’s pre-complaint support system and “counter-


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   complaint” process in place or because it ignored its obligations pursuant to the Dear Colleague

   Letter—the heart of the discrimination was Defendant’s utter failure to even recognize John as a

   victim of sexual misconduct. Indeed, John’s experience of being bitten until he bled/choked

   until he wheezed while Jane smiled and demanded his allegiance to her “rules” were ignored by

   both Norris and YCA. The gender bias here is palpable. Another comparable would be the “two

   or three” women John pointed out to Suarez as they walked to CAPS. (PSOF ¶¶ 152-154). John

   was traumatized by the news of T92 and the immediate suspension; he was considering suicide.

   As Suarez escorted John to CAPS he confided in her—because she was his counselor and

   confidant during T91—his fears that these women too may report him for no reason (John’s

   assessment that Sally’s claim was baseless was proven by Sally’s own admission to him in the

   May 2016 test messages). He felt vulnerable and shared these feelings with Suarez. (PSOF ¶

   152). Remarkably, Suarez did not see the vulnerability or the fear. She found John’s disclosures

   “stunning,” and out of sync with his predicament—but concerning enough to consider it as the

   kind of disclosure worth mentioning to Dean Ward. To Suarez the two or three white women on

   the green on the way to CAPS were of more concern than John, the black male who stood before

   her in despair.

          With regard to Jane and as this Court assessed, “the fact that the relevant conduct

   involving Jane as a comparator occurred before May 4, 2014, has limited relevance given

   the other similarities between them. Both John and Jane were students at Brown. Both brought

   complaints of sexual assault. Both complaints of sexual assault occurred, at most, within six

   months of each other. Brown investigated Jane's complaint; it ignored John's complaint. While

   the two are not exactly identical, the allegations as pleaded present John and Jane as similarly

   situated.” Doe v Brown Univ., 327 F Supp 3d 397, 412-413 (DRI 2018). The evidence supports



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   the Court’s assessments. Both John and Jane complained of sexual misconduct. Defendant not

   only pursued her complaint, but cultivated it through its pre-complaint support system in which

   Jane met with Shooshani and worked with SAPE where her experience with John was revealed.

   She was supported while she gathered her strength to tell her parents and professors, as she

   anticipated that complaint process may impact her studies. John’s experience in comparison has

   that “second-class citizen” feel inherent to discriminatory systems and societies. In this case the

   white women get the special treatment; the black men get the usual—nothing.

          As John alleged, Jane’s fingerprints are also all over T92. Jane initiated a discussion

   about bad encounters with men with her sorority and talked about John. (PSOF ¶ 110). When

   Sally disclosed that she too had an encounter with John, Jane went into action and asked Sally if

   she could report her story to the Dean. Sally agreed, and the Dean contacted Sally to encourage

   her to make a formal complaint. Sally met with the Dean, who made her feel “comfortable

   enough to finally report” her encounter with John. (PSOF ¶ 122). Yet, Sally’s May 2016 text

   messages to John suggest that she was not as comfortable as she testified. Indeed, in an email to

   YCA she complained that she was “forced” to report and that the Dean “wrote the no contact

   order without me asking for it” (PSOF ¶¶ 133, 239-240). To this extent Defendant’s zeal in

   pursuing Sally’s complaint in contrast to Defendant’s dismissiveness of John’s allegations

   further underscore the discrimination.

          Defendant’s accommodation of Jane as the prime-mover is another issue that discloses

   nefarious intent towards John. Defendant’s retaliation policy prohibits “repeated complaints

   from one party about the other.” (PSOF ¶¶ 107-108). Sally’s encounter with John in which he

   “gently pushed” her to the shower and asked her to take a shower with him is hard to shoe-horn

   into a claim of mere rudeness let alone sexual misconduct. Sally testified that this is the story



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   she told Jane and the story she told the Dean. Sally also said that she told the Dean that she

   didn’t think what happened to her was sexual assault, but that she was reporting it to protect

   other women, even though she knew of no other woman but Jane who had a problem with John.

   (PSOF ¶¶ 119-120). Yet, Defendant moved forward with T92—instigated as it was by Jane, and

   made in the spirit of underscoring Jane’s experience and protecting Jane—without any of this

   raising a red flag that Jane may have been retaliating against John.

          John actually has two comparables—Jane and Sally. With regard to Sally, she was a

   reluctant accuser who did not even have an issue that rose to misconduct, yet Defendant’s

   groomed her and pursued her complaint like gangbusters. Whereas Sally’s experience involved

   gently pushing and a request to take a shower after she said no after which she left John without

   any resistance from John; John’s experience included aggressive choking until he wheezed, a

   demand he follow Jane’s rules, and resistance from Jane when he wanted to leave.

          This case is distinguishable from Haidek v, University of Massachusetts-Amherst, 933

   F.3d 56 (1st Cir. 2019). The present case is not “a race to the dean’s office” which could be won

   by any gender. The gender bias herein lies in the utter failure of Defendant to even recognize

   that John had endured sexual misconduct of any kind when he actually endured misconduct that

   caused him physical pain and in terms of severity out-weighs the skirt-lifting and “gentle

   pushing” of both Jane and Sally combined. Yet, Defendant is able to so clearly see sexual

   misconduct or the potential for sexual misconduct—on the green, near the shower—when it

   involves white women.

          Defendant’s demand for summary judgment on this claim must be denied.


   C. Title VI, 42 U.S.C. § 1981, and R.I.G.L. § 42-112-1 (Race and Gender)




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          Whereas the claims in this section address racial discrimination, only § 1981, and

   R.I.G.L. address disparate impact. See Thomas v Salem State Univ., 2013 US Dist LEXIS 98448,

   at *15-16 (D Mass, 2013), Lakshman v Univ. of Maine Sys., 328 F Supp 2d 92, 96 (D Me 2004)

   and Kriegel v Rhode Island, 266 F Supp 2d 288, 292 (DRI 2003). Regardless, all three statutes

   are subject to “the familiar McDonnell Douglas burden shifting framework.” Pina v Children's

   Place, 740 F3d 785, 796 (1st Cir 2014). The burden of production starts a showing from

   Plaintiff that “creates a rebuttable presumption that [Defendant] engaged in discrimination. This

   is not the end of the matter, however, and if the [Defendant] is able to articulate a legitimate,

   non-discriminatory reason for the termination, the presumption of discrimination disappears. At

   the third and final stage of the McDonnell Douglas paradigm, the burden of production returns to

   the plaintiff, who must offer evidence that the defendant's explanation is pretextual and that

   discriminatory animus prompted the adverse action. The burden of persuasion remains on the

   plaintiff at all times.” Id.; see also Mayale-Eke v Merrill Lynch, Pierce, Fenner & Smith, Inc.,

   754 F Supp 2d 372, 384 (DRI 2010); Boston's Children First v City of Boston, 62 F Supp 2d 247,

   260, n 31 (D Mass 1999). Whereas it is axiomatic that all three statutes address racially-

   discriminatory adverse actions, § 1981 addresses racial discrimination to the extent that

   Plaintiff’s ability contractual rights are impaired. Rodriguez Cuervos v Wal-Mart Stores, Inc.,

   1998 US Dist LEXIS 22445, at *8 (DPR, 1998). Moreover, Title VI requires a showing that

   Defendant receives federal funds, a matter so apparent, Defendant has not in any way challenged

   it. Boston's Children First v City of Boston, 62 F Supp 2d 247, 260, n 31 (D Mass 1999).

          As this Court considered it its motion to dismiss Order, John “a black man—was unable

   to exercise his rights under Brown's Code of Student Conduct, while Jane and Sally—white

   women—could.” Further, the Court cited Mayale-Eke v. Merrill Lynch, 754 F. Supp. 2d 372,



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   381 (D.R.I. 2010) for the observation “that it is ‘unrealistic to think that in the 21st century any

   sophisticated’ person would make a blatant statement tainted with impermissible discriminatory

   animus”. Doe v Brown Univ., 327 F Supp 3d 397, 413 (DRI 2018).

          To support his racial discrimination claims, Plaintiff brings the full weight of the

   evidence and arguments set forth herein thus far—every breach, every slight, every dismissive

   comment made by YCA or Norris, every act of bad will, every cruel word that occurred in the

   October 28, 2014 meeting with John and his Mother; every tone deaf failure of Suarez to

   recognize John’s emotional pain whether he is walking across a green or trying to salvage his

   athletic and academic life after a suicide attempt, every flagrant appeasement to Jane whether its

   overlooking her acts of retaliation against John or granting Jane a unilateral NCO retroactively

   and in bad faith when even she would have been happy if Defendant just reminded John to

   adhere to the MNCO already in place, to threatening John with instant sanctions for Jane’s

   “minimal” MNCO violations—reeks of discrimination against John.

          As Defendant’s motion seems to primarily focus on damages and is devoid of serious

   analysis of any relevant fact, it is difficult to discern what legitimate reason it may proffer.

   Defendant’s scant attention to the premiere issues in T92 disclose that Jane filed a complaint and

   the complaint was heard and that John was sanctioned but he didn’t appeal are obvious low-

   hanging fruit. In T92, once again, a complaint was filed, but out of “fairness” to Plaintiff it was

   closed and no harm was done—the immediate suspension was in name only as it occurred right

   before summer break and it was lifted before the fall (which begs the question as to why

   Defendant imposed the immediate suspension at all, if not to make John scramble under extreme

   distress to complete his finals and suffer for three months over the summer not knowing if he

   could return to school).



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          As for the medical leave, Defendant seems to again assert that there’s nothing to see here

   folks, just a normal day in the suicide ward threatening a student who wanted to kill himself as a

   result of the disciplinary actions, T91 and T92, with more disciplinary actions in defiance of his

   psychologist who warned Defendant not to do it because John was too fragile. Defendant

   doesn’t even try to legitimate the readmission process except to offer an all’s well that ends well

   conclusion, which in no way addresses the clear evidence that Defendant wanted John “out of

   here” for at least two years until 2016 and maybe not to return at all as YCA informed Jane.

   Defendant relies on John’s cannabis consumption, which John’s medical documents from CAPS

   and RIH also address, but as a symptom of his depression, not the cause, a conclusion Dr.

   Daignault also reached; Defendant did not provide any expert testimony to address the role of

   cannabis in John’s mental health.

          Plaintiff brings the entire weight of arguments herein to support his contention that

   Defendant’s legitimate reasons are not only a pretext for discrimination—there are too many

   anomalies, breaches, expressed disdain for John (e.g. Norris) and blatant disinterest in his

   experiences and suffering and excessive back bending and race to break the rules to coddle and

   support white women to even characterize Defendant’s actions as legitimate—they are wholly

   based on skewed application of procedures and policies, outright breaches of the Code and bad

   faith so extensive and severe, the only conclusion is that the lone black man in this entire debacle

   from 2013 through 2016 was discriminated against.

          Defendant’s motion must be denied in its entirety.

          D.      Intentional Infliction of Emotional Distress

          This Court requires proof of the following “four elements necessary to sustain a claim of

   intentional infliction of emotional distress under Rhode Island law: (1) the conduct must be



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   intentional or in reckless disregard of the probability of causing emotional distress, (2) the

   conduct must be extreme and outrageous, (3) there must be a causal connection between the

   wrongful conduct and the emotional distress, and (4) the emotional distress in question must be

   severe.” Forbes v Rhode Is. Bhd. of Corr. Officers, 923 F Supp 315, 329 (DRI 1996). Moreover,

   “plaintiffs attempting to maintain emotional distress claims must also provide some proof of

   medically established physical symptomatology.” Adams v Town of Burrillville, 249 F Supp 2d

   151, 155 (DRI 2003). With regard to the second prong of the elements requiring the “conduct to

   be extreme and outrageous,” this Court has held that “[l]iability has been found only where the

   conduct has been so outrageous in character, and so extreme in degree, as to go beyond all

   possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

   community. Restatement (Second) of Torts § 46 cmt. d (1965).” Forbes, supra, at 329.


          T92 triggered John’s suicidal ideation. On May 7, 2014, when YCA informed him of

   T92 and the interim suspension, he curled up in a ball on the floor and cried; Suarez escorted him

   to CAPS. (PSOF ¶¶ 151-152). At CAPS, John revealed that he wanted to kill himself. (PSOF ¶

   156). With this state of mind he completed finals as best he could and left campus for the

   summer. Although T92 as an investigation remained dead in the water over the summer because

   of Sally’s disinterest in the case and her unwillingness to participate, Defendant misled John and

   his Mother into believing that they “have been working with the other party” (PSOF ¶¶ 161-

   163). In the dark, John and his family experienced extreme emotional distress. His parents

   “almost split up;” it was “the worst summer ever.” (PSOF ¶ 163). Once the interim suspension

   was lifted and John was able to return to campus, he was depressed and unable to get out of bed

   and began seeking help from CAPS and identified T92 and T91 as the cause of his emotional

   issues. (PSOF ¶¶ 186-187). On October 24, 2014, he jumped in front of the vehicle believing

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   that “if people are accusing[me] of being a rapist, maybe [I am] a rapist” and that he “deserved

   to die.” (PSOF ¶ 201). Although diagnosed with major depression and his class attendance and

   work were suffering, John wanted to stay in school and continue playing lacrosse. (PSOF ¶ 203).

   Defendant was aware of his mental health as John had provided an authorization to release his

   CAPS record on October 22, 2014, and another authorization to release his CAPS record to

   Suarez on October 28, 2014. (PSOF ¶ 156—Ex. 38).

          John was hospitalized at RIH until October 28, 2014. (PSOF ¶ 200). Upon his release,

   Suarez and Klawunn scheduled a meeting with John and his Mother to discuss medical leave.

   Defendant no longer required mandatory medical leave; the only option was for John to take

   voluntary medical leave. The topic of the meeting was to coerce John to leave “voluntarily.” In

   a telephone with Dr. Twitchell, a CAPS psychiatrist, Suarez disclosed her plan. Dr. Twitchell’s

   notes account for Suarez’s plan and Dr. Twitchell’s response as follows (PSOF ¶ 209):

          10/28/2014 I called Dean Suarez . . . . She said that Margaret Klawunn and her were
          meeting with [John] at 5:30 to tell him that there is a no contact order violation against
          him and he will have to move out of his room in the lacrosse fraternity as a result. There
          will also be conduct charges against him for underage drug use and conduct charges
          against him for damage to the car he threw himself toward. . . . After some reflection, I
          called her back and expressed my concern for his safety if these charges were brought
          against him the same night he was discharged from the hospital and asked that this be
          delayed in light of his recent suicide attempt. She indicated that the move would have to
          be addressed because he cannot go back to his room given the accusation that he violated
          his no contact order. We discussed how much he should know up front and how much
          should be mediated given his fragile state [emphasis added].

          Suarez did not take Dr. Twitchell’s advice. At the meeting not only did Suarez and

   Klawunn threaten John with the alleged NCO violation, they threatened him with even more

   disciplinary actions (PSOF ¶ 210) as follows:

          The two Brown officials were aware of John’s severe emotional state and that he had
          been released from the hospital just hours before they held the scheduled meeting.
          Regardless, they informed John that if he chose not to leave, he could expect to face
          hearings on several matters, including the damage sustained by the vehicle that he threw

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          himself into when he attempted to harm himself (it would be regarded as vandalism), and
          an allegation he had violated his “no contact” order with Jane. Vice President Klawunn
          and Dean Suarez also informed John they would seek to remove John from his dormitory
          that day because of the claimed violation of his no-contact order. Finally, Vice President
          Klawunn informed John that the sexual misconduct complaint from the previous spring
          involving Sally could still be revived. . . . John jumped up from his seat and cried, “Do
          you just want me out of here?” At that point, John’s Mother said to them both, “Enough!
          This is enough! You have traumatized him enough.”

          Suarez’s callousness to and bias against John is merely underscored in this atrocious

   episode. Suarez is an MSW and has an undergraduate degree in psychology. During the

   relevant time period, she was Associate Dean and Director of the Student Support Services, and

   prior to that, Suarez “saw students for short-term psychotherapy” in her position as Associate

   Director of Brown’s Psychological Services, subsequently known as CAPS. (PSOF ¶¶ 145-146).

   She provided John with numerous counseling sessions about his family and his racial identity

   (Id. ¶¶ 147-150). Yet, when she walked John across the green to CAPS after he was informed of

   T92 and had rolled up in a ball on the floor crying and presented at CAPS presented suicidal

   ideation, Suarez’s interpreted his “stunning revelation” in which he identified some women on

   the green with whom he had “hooked up,” as something worthy of reporting to Dean Ward, who

   was YCA’s superior in the OSL, which addressed sexual misconduct cases. She also remembers

   that John was “tall and bi-racial.” (PSOF ¶ 154).

          Suarez’s response to John walking across the green as “stunning” worthy of reportage to

   Defendant’s sexual misconduct office rather than as an expression of his fear of being “targeted”

   in T92 and a plea to understand why “anyone I had been with previously in any context could

   come out against me since it was seeming like women were coming out against me for no reason

   as in Sally’s case” is a notable indicia of Suarez’s “unchecked bias” against John (PSOF ¶¶ 154-

   155). To Suarez, John, the tall and biracial young man was a sexual threat, his voraciousness

   was “stunning” as if it had no bounds even in the face of a sexual misconduct violation. (PSOF ¶

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   155). As a result and as Klawunn so overtly stated, John “has to go.” (PSOF ¶ 213). Whatever it

   takes to get him off campus, “either a mandatory leave or something based on concerns about his

   behavior.” (Id). What is truly stunning is that Suarez transferred her callousness to John and

   misconstrued it as John’s flagrant expression of sexual appetite? His indifference to women?

   T91? T9? Whatever “stunning” means it is not commensurate with support or compassion in

   this case. Given the context there is no other reasonable explanation—John had just been

   suspended from Brown during finals week; he was on the floor in a ball crying. John and Suarez

   are literally walking to CAPS where John is about to disclose the suicidal ideas that are swirling

   through his head. Yet, Suarez, as an MSW with training and experience in psychology and a

   counseling relationship with John was unable to even minimally understand John’s state of mind,

   point of view and fears.

          The only reasonable conclusion is gender and/or racial discrimination—what other

   human and social malady has the effect of dehumanizing “the other” and causing this degree of

   callousness to another person’s suffering and fears of injustice. The experience of the black

   community in America is a history of such callousness. And men, at least young college men,

   white or black, are the new targets of discrimination.

          How else to explain Defendant’s patently unfair and biased characterization of all

   respondents, 100% male during the relevant time frame as abusers of “power dynamics”

   employing “manipulative tactics” in these matters. (PSOF ¶ 21). How else to explain

   Defendant’s breach of the Code to modify the terms of John’s “deferred suspension” as

   warranting more extreme sanctions on the mere “allegation” of a violation without any evidence

   or in Sally’s claim, nothing but conclusory allegations. (PSOF ¶ 98). How else to explain YCA’s




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   and Norris’ complete dismissal and distrust of John’s experience with Jane in T91 (PSOF ¶¶ 71-

   80).

          How else to explain YCA’s refusal to maintain the MNCO between John and Jane. YCA

   revoked the MNCO issued in T91, and retroactively issued a NCO in favor of Jane only even

   though John had a right as per the findings to the MNCO as long as either party wanted it (¶¶ 96,

   238) and even though the new 2016 rule that permitted unilateral NCO’s was not retroactive.

   (PSOF ¶ 234). John’s plea to maintain the MNCO was ignored by YCA even though John

   claimed that Jane had “endangered his life.” (PSOF ¶ 236). While the phrase “endangered his

   life” on the face of it is far more dire claim than Sally’s claim that John “forced me to have a

   shower with him,” (PSOF ¶ 179), we note that Sally’s claim was affirmatively encouraged by

   Defendant, triggered an interim suspension, an investigation and all of the events leading to

   John’s depression and suicide attempt on Oct. 24 and the medical leave on Oct. 28 as the threat

   of Defendant re-opening Sally’s case was one of the continuing threats Suarez and Klawunn used

   against John. On the other hand, John’s life-endangerment claim didn’t raise a “red flag” for

   YCA, who did not issue an NCO against Jane.

          How else to explain Brown’s initial failure to reject John’s readmission application, but

   accepted him only after his Father raised the specter of racial bias (PSOF ¶ 221). Disappointing

   for YCA who clearly saw the medical leave as a way to keep John off campus through 2016,

   perhaps for good. (PSOF ¶ 227). Unchecked biases, indeed.

          These events prove Plaintiff’s IIED claim, as follows:

          (1) The conduct must be intentional or in reckless disregard of the probability of causing

   emotional distress. As stated, Defendant, and Suarez in particular, was aware of John’s

   emotional distress (Suarez, an experienced MSW who provided psychological counseling, was in



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   possession of John’s CAPS authorization and in communication with Dr. Twitchell who warned

   her to not threaten John with disciplinary actions, which was the reason why he was in emotional

   distress and suicidal in the first place). Despite Dr. Twitchell’s advice, Suarez moved forward

   with her plan to threaten John. Klawunn too participated in the Oct. 28 meeting and her

   intentions were clear—John “has to go.” (PSOF ¶ 213). Even after John’s medical leave as he

   was appealing the denial of his readmission to Brown, Klawunn was still threatening John with

   Jane’s “minimal” NCO violations. (PSOF ¶¶ 195, 222).

           (2) The conduct must be extreme and outrageous. As your Honor acknowledged, racial

   motivation “is extreme and outrageous behavior intolerable in a civilized community.” Doe v

   Brown Univ., 327 F Supp 3d 397, 415 (DRI 2018). Suarez’s motivations, Klawunn’s

   motivations, Norris’s motivations, YCA’s motivations and bias’s unchecked or flagrant, whether

   based on race or gender, speak for themselves.

          (3) There must be a causal connection between the wrongful conduct and the emotional

   distress. John’s CAPS and RIH records clearly identify T91 and T92, and the grueling summer

   John awaited information about the T92 investigation as the basis for his depression, suicidal

   ideation and suicide attempt. (¶¶ 163, 187-192; Ex. 8, Daignault Opinion, Ex. 31, CAPS

   records).

           (4) The emotional distress in question must be severe (and present with physical

   symptoms). John tried to kill himself. And Dr. Daignault has identified numerous physical

   effects of his persistent depression. (¶ 13, Ex. 8).

          A jury could plausibly include that Defendant’s motives and intents not only satisfy the

   elements of this IIED claim, but Plaintiff’s claims in gender and race discrimination as well.

   E.     Breach of Contract and Covenant of Good Faith and Fair Dealing


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          To prevail on the merits, of a breach of contract claim, Plaintiff must establish: (1) that a

   contract existed; (2) that there was a breach of the contract; and (3) that the breach caused the

   plaintiff damages. Doe v Brown Univ., 943 F3d 61, 67 (1st Cir 2019). It is axiomatic in this

   Court that “the relationship between a student and a private university is based in contract” and

   that "[t]he relevant terms of the contractual relationship between a student and a university

   typically include language found in the university's student handbook." (Id.). As YCA

   acknowledged, the Code is the student’s “bible,” on which they relied. (PSOF ¶ 100).

          Defendant breached the Code in the following ways: a) In its sanction of John in T91,

   defendant changed the terms of its deferred suspension sanction in the Code, which was as

   follows:

          “Deferred suspension is used for offenses found serious enough to warrant suspension,
          but where the specific circumstances of the case mitigate the offense or for repeated
          offenses of a less serious nature. Deferred suspension is a designed period of time during
          which a student is given the opportunity to demonstrate the ability to abide by the
          community’s expectations of behavior articulated in the Code of Student Conduct. A
          deferred suspension may be accompanied by a transcript remark.” (PSOF ¶ 97).

          However, YCA, who had a hand in writing the Decision in T91 modified and enhanced

   the sanction to include the following statement: “During the period of your deferred suspension,

   any allegations [emphasis added] that you violated the Standards of Student Conduct will

   receive greater scrutiny by the Office of Student Life and will increase the likelihood that the

   matter is resolved through a hearing in which more serious outcomes are possible, including

   separation from the University.” (PSOF ¶¶ 98-99). This enhanced sanction that relies on mere

   “allegations” will receive “greater scrutiny” is a breach within a breach as it sideswipes all other

   procedural protections in the Code in a race to “more serious outcomes . . . including

   separation.” Jane received the Decision including this enhanced portal to more extreme

   sanctions. She was disappointed with the sanction and appealed it; the loss of the appeal caused

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   her more dismay. (PSOF ¶ 106). The enhanced sanction could give Jane and any other party

   interested in upending John’s life and education the opportunity to have a field day with this.

   Jane recruited Sally and brought claims of NCO violations against John (¶¶ 194-195). And

   defendant picked up on Jane’s agitations and ran with them: T92 which barely expressed a

   sexual misconduct violation and didn’t even include John’s name triggered an interim suspension

   during finals week and three months of unendurable waiting for the outcome of an investigation

   that wasn’t even occurring. Jane’s alleged NCO violations fueled Suarez’s and Klawunn’s antics

   during the October 28 meeting with John and his Mother, and Klawunn was still banking on the

   alleged NCO violations to keep John from being readmitted after his medical leave (PSOF ¶ 209-

   210).

           (b) During T92, Defendant breached the Code as detailed in PSOF ¶¶ 166-179. This

   caused John tremendous damage as these procedures, if exercised, would have deterred

   Defendant from putting John on interim suspension and launching a baseless investigation

   causing him tremendous emotional distress that was the foundation to his suicide attempt on

   October 24, 2014.

           In addition to the breaches of the contractual elements of the Code, John also alleges that

   Defendant breached its “implied duty” of good faith and fair dealing, which exists in every

   contract under Rhode Island law. Doe v Brown Univ., 943 F3d 61, 69 (1st Cir 2019). Defendant

   breached this duty in three significant ways. In the first instance, Defendant discouraged

   Plaintiff where it encouraged Jane and Sally with regard to pre-complaint support and in

   procuring a complaint. Defendant did not expect Jane or Sally to enter into the complaint

   process without a lot of hand-holding—nearly four months of support from Shooshani and

   participation in SAPE where she presented story about John and it was well received. Sally too



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   was escorted into the process by Jane who made introduction with the Dean, who in turn

   encouraged Sally to file her complaint. Like Jane and Sally, John was a “survivor” of sexual

   misconduct—he had been bitten and choked. But that’s not how Defendant saw it. Instead, John

   faced discouragement where Jane and Sally found encouragement.

          The second way Defendant breached its implied duty was by overlooking Jane’s

   retaliatory acts. During the relevant time period Defendant prohibited students from retaliating

   against students who were party to a sexual misconduct disciplinary action. Examples of

   retaliation include such acts as repeated complaints from one party about the other or spreading

   information about a person. (PSOF ¶¶ 107-108). In the event retaliation occurs, the procedure is

   to talk to the student being retaliated against and determine whether the behavior warrants more

   attention. (PSOF ¶¶ 108-109). Jane made repeated complaints about John in that she informed

   the Dean about Sally’s experience and she reported John for what even she had to admit were

   “minimal” alleged violations of her MNCO with John. (PSOF ¶ 195). Jane also spread

   information about John during her discussion about hook-ups with her sorority. (PSOF ¶¶ 110-

   111). This was not only impermissible retaliation, it also violated confidentiality provisions of

   the Code. (Id).

          The third way Defendant breached its implied duty was by revoking the MNCO issued

   between Jane and John. The MNCO in T91 was required to stay in place per the Findings so

   long as “complainant or respondent would wish it to be maintained.” (PSOF ¶ 235, emphasis

   added). Both parties wished to maintain it. Indeed, in April 2016, Jane contacted YSA to ask

   her to remind John of the NCO as she was returning to campus the following fall. (PSOF ¶ 230).

   Instead, YCA revoked the MNCO and issued a unilateral NCO in accordance with a new policy.

   However, the new policy was not to be enacted retroactively, and John was the only student with



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   a disciplinary record prior to 2016 who had his MNCO revoked (PSOF ¶ 234, 238). John

   demanded that YCA maintain the MNCO claiming that Jane had “endangered his life.” (PSOF ¶

   236). John’s life-endangerment claim didn’t raise a “red flag” for YCA who did not issue a

   NCO against Jane. (PSOF ¶ 237). 28 To the extent that YCA unnecessarily revoked the MNCO

   retroactively and would not reinstitute it despite John’s plea (and his right under the Findings)

   are not only indicia of her racial and/or gender bias against John, but it was underhanded, unfair

   and in very bad faith. 29




   28
     As argued above, while the phrase “endangered his life” on the face of it is far more dire claim
   than Sally’s claim that John “forced me to have a shower with him,” (PSOF ¶ 179), we note that
   Sally’s claim was encouraged by Jane who reported to a dean about Sally’s interaction with
   John, and the Dean in turn contacted Sally and ultimately encouraged her to file a complaint
   against Jane (PSOF ¶ 117). Such chain of events stemming from Jane triggered an interim
   suspension, an investigation and all of the events leading to John’s depression and suicide
   attempt on Oct. 24 and the medical leave on Oct. 28 as the threat of Defendant re-opening
   Sally’s case was one of the threats Suarez and Klawunn used against John. Such an obvious
   chain of events also should have triggered a red flag that Jane was retaliating against John.
   29
     Finally, the Code states that a respondent “is to be assumed not responsible of any alleged
   violation unless she/he is so found through the appropriate student conduct hearing.” (PSOF ¶
   30). Defendant’s conduct with respect to Plaintiff hardly evinces the spirit of this right.

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                                               CONCLUSION

          For the above-stated reasons and as supported by Plaintiff’s Statement of Facts pursuant

   to Fed. R. Civ. P. 56.1, Plaintiff respectfully requests that the Court deny Defendant’s summary

   judgement motion in its entirety.




   DATED:         March 31, 2020
                                                Respectfully Submitted,

                                                THE PLAINTIFF,

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                                    CERTIFICATE OF SERVICE

               I certify that on the 31st day of March, 2020, I filed and served this document via

         the Court’s CM/ECF system.




                                                     /s/ Sonja L. Deyoe




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